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 9 GEORGE PRODUCTIONS, LLC; APPLE INC.;
   ESCAPE ARTISTS, INC. (erroneously sued as
10 ESCAPE ARTISTS LLC); DOLPHIN BLACK
   PRODUCTIONS; M. NIGHT SHYAMALAN;
11 TONY BASGALLOP; ASHWIN RAJAN;
   JASON BLUMENTHAL; TODD BLACK;
12 STEVE TISCH
13                                      UNITED STATES DISTRICT COURT
14                                CENTRAL DISTRICT OF CALIFORNIA
15
16 FRANCESCA GREGORINI,                                Case No. 2:20-cv-00406-JFW-JC
17                                      Plaintiff,     DEFENDANTS’ NOTICE OF
                                                       MOTION AND MOTION TO
18            vs.                                      DISMISS PLAINTIFF’S FIRST
                                                       AMENDED COMPLAINT
19 APPLE INC., a California corporation;
   M. NIGHT SHYAMALAN, an                              Date:    April 27, 2020
20 individual, BLINDING EDGE                           Time:    1:30 p.m.
   PICTURES, INC., a Pennsylvania                      Crtrm:   7A
21 corporation; UNCLE GEORGE
   PRODUCTIONS, a Pennsylvania
22 corporate; ESCAPE ARTISTS LLC, a
   California limited liability company;
23 DOLPHIN BLACK PRODUCTIONS, a
   California corporation; TONY
24 BASGALLOP, an individual; ASHWIN
   RAJAN, an individual; JASON
25 BLUMENTHAL, an individual; TODD
   BLACK, an individual; STEVE TISCH,
26 an individual; and DOES 1-10, inclusive,
27                                      Defendants.
28

     DEFENDANTS’ MOTION TO DISMISS FIRST AMENDED COMPLAINT
     4830-6416-5815v.1 0113237-000003
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  1   TO PLAINTIFF AND HER ATTORNEYS OF RECORD:
  2            PLEASE TAKE NOTICE that on April 27, 2020, at 1:30 p.m. or as soon as
  3   may be heard in Courtroom 7A of the United States District Court for the Central
  4   District of California, First Street Courthouse, 350 West First Street, Los Angeles,
  5   California 90012, defendants Blinding Edge Pictures, Inc., Uncle George
  6   Productions, LLC, Apple Inc., Escape Artists, Inc. (erroneously sued as Escape
  7   Artists LLC), Dolphin Black Productions, M. Night Shyamalan, Tony Basgallop,
  8   Ashwin Rajan, Jason Blumenthal, Todd Black, and Steve Tisch (collectively,
  9   “Defendants”) will and hereby do move this Court for an order dismissing with
 10   prejudice the first amended complaint (“FAC”) filed by plaintiff Francesca
 11   Gregorini (“Plaintiff”).1
 12            This motion is made pursuant to Federal Rule of Civil Procedure 12(b)(6) on
 13   the grounds that Plaintiff’s FAC fails to state a claim. Her first cause of action for
 14   copyright infringement as to Defendants’ television series Servant fails because
 15   there is no substantial similarity of protected expression between the series and her
 16   film The Truth About Emanuel. Her second and third causes of action for copyright
 17   infringement as to two iterations of scripts for Servant suffer from the same defect
 18   (i.e., a lack of substantial similarity of protected expression) and, in addition, are
 19   improperly based on “information and belief.” Because her claims for direct
 20   copyright infringement fail, so too does her fourth cause of action for contributory
 21   and vicarious copyright infringement.
 22

 23

 24            1
               Defendants have noticed this hearing for April 27, 2020, which is the latest
 25   permissible date under Paragraph 5(a) of this Court’s Standing Order. Dkt. 15. To
      the extent the Court anticipates holding a hearing on this motion, Defendants
 26
      request that the Court allow the parties to appear remotely or continue the hearing to
 27   a later date. The parties have met and conferred and will ask the Courtroom Deputy
      Clerk for guidance on whether to file a joint stipulation regarding moving the
 28
      hearing.
                                                                        DAVIS WRIGHT TREMAINE LLP
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  1            This motion is based on this notice of motion, the memorandum of points and
  2   authorities, the request for judicial notice, the declaration of Cydney Swofford
  3   Freeman, the notice of lodging with exhibits, and all other matters of which this
  4   Court may take judicial notice, the pleadings, files, and records in this action, and
  5   on any argument heard by this Court.
  6            This motion is made following the conference of counsel pursuant to L.R. 7-3
  7   which took place on March 16, 2020. See Dkt. 29.
  8

  9   DATED: March 24, 2020                    DAVIS WRIGHT TREMAINE LLP
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 10                                            DIANA PALACIOS
                                               CYDNEY SWOFFORD FREEMAN
 11                                            CAMILA PEDRAZA
 12                                            By:     /s/ Nicolas A. Jampol
                                                              Nicolas A. Jampol
 13
                                                    Attorneys for Defendants
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  1                      MEMORANDUM OF POINTS AND AUTHORITIES
  2                                         INTRODUCTION
  3            Plaintiff Francesca Gregorini’s lawsuit is another example of “that
  4 obsessive conviction, so common among authors and composers, that all similarities
  5 between their works and any others which appear later must inevitably be ascribed
  6 to plagiarism.” Litchfield v. Spielberg, 736 F.2d 1352, 1358 (9th Cir. 1984)
  7 (quoting Dellar v. Samuel Goldwyn, Inc., 150 F.2d 612, 613 (2d Cir. 1945)). This
  8 truism is particularly applicable to Plaintiff’s attempt to claim ownership over
  9 unprotectable ideas, including a grieving mother who believes a therapy doll is her
10 deceased child or “white, sophisticated, and privileged” parents hiring a nanny for
11 their “well put together” home. These concepts are taken from real life and are
12 found in countless movies, television programs, and other works.
13             While Plaintiff’s film The Truth About Emanuel (“Emanuel”) and
14 Defendants’ television series Servant both employ aspects of these unprotectable
15 concepts, the similarities end there. In Emanuel, a quintessential American teenager
16 struggling to cope with the loss of her mother and her next-door neighbor struggling
17 to cope with the loss of her baby together experience the catharsis of acceptance. In
18 Servant, a deeply religious self-flagellating young woman leaves her cult to be a
19 nanny for a family that she has targeted, and seemingly transforms a doll into a real
20 baby while—in the midst of various supernatural events—other characters attempt
21 to find out where the baby and nanny are from. As one character ominously asks in
22 the trailer, “do you know who you welcomed into your home?” See RJN § 1.
23             To divert attention from the fact that Emanuel and Servant tell vastly
24 different stories, Plaintiff has assembled a laundry list of alleged similarities. Many
25 of these alleged similarities flow from unprotectable concepts, while others are
26 ubiquitous in film and television. Plaintiff relies heavily on these common
27 elements, such as the “mystery/danger of a stranger coming to town,” a home with a
28 wooden staircase, or “tight shots of characters’ faces,” all of which are featured in

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  1 numerous films and television series. Once these elements are disregarded, as they
  2 must be, there is almost no similarity of protectable expression.
  3            Despite previously refusing to amend (Dkt. 18), Plaintiff changed her mind
  4 after Defendants filed their motion to dismiss the initial complaint. Plaintiff’s first
  5 amended complaint (“FAC”) removed several of her more incredible allegations,
  6 including that Servant copied Plaintiff’s use of ominous music to “signify danger.”
  7 See Dkt. 1 (“Compl.”) ¶ 76. Plaintiff also added two meritless copyright claims
  8 regarding various iterations of scripts for Servant, which, among other defects, are
  9 based entirely on “information and belief.” FAC ¶¶ 93-104. These amendments do
10 not strengthen Plaintiff’s lawsuit, but instead reveal the weakness of her claims.
11 Emanuel and Servant are not substantially similar as a matter of law, and
12 Defendants respectfully request that this Court dismiss the FAC with prejudice.
13                                       FACTUAL BACKGROUND
14 A.          The Truth About Emanuel
15             Emanuel is an “emotional story about motherhood and daughterhood.” FAC
16 ¶ 14; Dkt. 13.2 It is told from the point of view of Emanuel, a typical teenager who
17 struggles with the guilt of knowing her mother died giving birth to her, and attempts
18 to coexist with her new stepmother. Most days, she takes the train to her job at a
19 medical supply store, listening to music or sitting with her boyfriend Claude. After
20 a single mother (Linda)—who “bears a striking resemblance” to Emanuel’s
21 deceased mother—moves in next door, Emanuel offers to babysit. See Dkt. 13
22 (DVD back cover); id. at 7:57. When Emanuel finally meets the “baby,” she is
23 stunned to discover that the child is a doll. Id. at 21:00.
24             Despite this discovery, Emanuel continues to visit Linda (when she is not
25 working or with her family or boyfriend). At first, Emanuel remains uncomfortable
26
27
               2
28            References to “Dkt. 13” throughout this brief are to the DVD of Emanuel
      that Plaintiff lodged with the Court at Dkt. 13. See also RJN § 1.
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  1 with the doll and refuses to help Linda with it, but she later acquiesces. Emanuel
  2 begins to pretend the doll is a baby in Linda’s presence, but generally not when
  3 Linda is gone. Emanuel’s affection for Linda grows as she (and the audience)
  4 attempts to figure out why Linda is pretending the doll is a real baby. Emanuel is
  5 protective of Linda and concerned about others discovering the truth, routinely
  6 making excuses as to why others cannot meet the baby. She falls deeper into
  7 Linda’s orbit, until Linda brings home a date (Arthur) who discovers the doll and,
  8 assuming that Emanuel harmed the actual child, calls the police. Dkt. 13 at 1:07:15.
  9            Linda is committed to an institution, and while she is there, her ex-husband
 10 (Thomas) explains that his and Linda’s baby died of an unknown cause. Dkt. 13 at
 11 1:18:30. Thomas reveals that Linda refused to go to her daughter’s burial and was
 12 given a therapy doll. When Linda started to believe the doll was real, Thomas tried
 13 to have her committed, but Linda fled. After this discovery, Emanuel decides to
 14 free Linda from the institution. She breaks into the facility and takes Linda to
 15 Emanuel’s mother’s grave, the first time Emanuel has visited. Id. at 1:21:05. She
 16 sobs while she digs a hole at the gravesite, and the two bury the doll next to
 17 Emanuel’s mother, each processing her own grief. Id. at 1:27:00. The film closes
 18 on the pair looking up at the stars, finally headed toward acceptance. Id. at 1:29:50.
 19 B.         Servant
 20            Servant is a psychological thriller that explores the question asked in the
 21 trailer: “do you know who you welcomed into your home?”3 The series portrays a
 22 wealthy couple (Dorothy and Sean Turner) that hires a full-time, live-in nanny
 23 (Leanne) for their baby son Jericho, which—as the audience already knows from
 24 the trailer—is a doll that was given to Dorothy to cope with the loss of their child.
 25 See RJN § 1. Jericho died after Dorothy inadvertently left him in her car for hours
 26
 27
               3
 28           Defendants are lodging Episodes 1-10 of Servant as Exhibits 1-10 to the
      declaration of Cydney Swofford Freeman. See also RJN § 1.
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  1 in the middle of summer, which Dorothy never accepted, instead slipping into
  2 denial and delusion. From the outset, viewers discover that Leanne is no ordinary
  3 teenager, but instead a creepy, deeply religious, possibly paranormal, self-
  4 flagellating cult member who subsists on cans of tomato soup and creates wooden
  5 crosses (and who, the audience later learns, specifically targeted the Turners).
  6            When the audience first sees Leanne with the doll, she picks it up like a real
  7 baby, sings to it, changes its diaper, and never treats the doll as anything other than
  8 a living child even when nobody is watching and despite Sean telling Leanne she
  9 need not pretend around him. E.g., Ex. 1 at 13:11, 17:17, 29:01. Sean explains to
 10 Leanne that the doll is a “reborn doll” (a real-life therapy doll, RJN § 2), which was
 11 prescribed to Dorothy after Jericho died. But Leanne continues interacting with the
 12 doll just as she would a real baby. She never acknowledges that the doll is not real,
 13 and does not attempt to shield the doll from public view. E.g., id. at 17:17.
 14            At the end of the first episode, Sean hears crying on the baby monitor and
 15 walks into the nursery to find a real baby. Ex. 1 at 34:08. In the next episode, he
 16 confronts Leanne, who has no reaction to the child being any different. When Sean
 17 asks her whose baby the child is, she calmly replies, “that’s your baby Mr. Turner,
 18 it’s Jericho.” Ex. 2 at 3:17. From there, the seemingly supernatural occurrences
 19 take flight, each tied back to Leanne. For example, as Sean’s relationship with
 20 Leanne sours, he begins to get wooden splinters all over his body, including
 21 unlikely places like his throat, and then loses his ability to taste, smell, and,
 22 eventually, feel. E.g., id. at 10:38, 17:44, 27:10, 28:11. Leanne also seemingly has
 23 the ability to bring the dead back to life, including a cricket, a stray dog, and,
 24 possibly, a human baby. Ex. 1 at 34:08; Ex. 5 at 30:59; Ex. 7 at 28:02.
 25            Wary of Leanne, Dorothy’s protective brother Julian—an abrasive character
 26 with drink always in hand—hires a private investigator (Roscoe) to track down
 27 information about Leanne. Julian and Roscoe visit Leanne’s hometown and
 28 discover gravestones for Leanne’s parents, and for Leanne herself. Ex. 3 at 8:31,

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  1 10:17, 26:12. This discovery is explained later—Leanne’s cult-member aunt (May)
  2 and uncle (George) took Leanne in after a fire killed her parents, and pretended
  3 Leanne had died so they could raise her “as God instructed.” Ex. 10 at 12:15.
  4            At the end of the first season, Aunt May pressures Leanne to rejoin their cult,
  5 telling her that Dorothy is undeserving of the “second chance” Leanne is giving her.
  6 Leanne leaves the Turners, and when Dorothy hurries to the nursery after finding
  7 Leanne’s room empty, she finds the doll instead of the baby. In the last scene of the
  8 season, Dorothy seems to realize that the doll is not her son. Ex. 10 at 31:39.
  9            Apple released the first three episodes to Apple TV+ subscribers on
 10 November 28, 2020, with the remaining seven episodes released weekly after that.
 11 C.         The Lawsuit
 12            On January 15, 2020, Plaintiff filed her complaint for direct, contributory,
 13 and vicarious copyright infringement, alleging that three of the ten episodes of
 14 Servant are “strikingly similar” to Emanuel. Dkt. 1. Because the works themselves
 15 reveal that there is almost no similarity of protectable expression between them, let
 16 alone substantial similarity, Defendants moved to dismiss Plaintiff’s complaint on
 17 February 18, 2020. Dkt. 20. On March 2, 2020, Plaintiff filed a notice of non-
 18 opposition (Dkt. 24) and, on March 10, 2020, filed the FAC (Dkt. 25).
 19            The FAC asserts the same direct, contributory, and vicarious infringement
 20 claims against all Defendants as to the first three episodes of Servant. See FAC.
 21 The FAC also asserts two new copyright-infringement claims: one against Servant’s
 22 writer Tony Basgallop and executive producer Jason Blumenthal, alleging that the
 23 pair created an “early” infringing draft script for Servant’s first three episodes; and
 24 one against all Defendants except Apple, alleging that the non-Apple Defendants
 25 created a “later” infringing draft script. Id. ¶¶ 93-104. Both of these new claims are
 26 made solely “on information and belief, based on media interviews with the
 27 Defendants, and the finished project, Servant.” Id. ¶ 95 n.15 & 101 n.16.
 28 Defendants again move to dismiss Plaintiff’s claims with prejudice.

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  1                SERVANT AND EMANUEL ARE NOT SUBSTANTIALLY SIMILAR
  2            To avoid dismissal of her first cause of action alleging that Servant infringes
  3 her purported copyright in Emanuel, Plaintiff must demonstrate that the works’
  4 protected expression is substantially similar. Three Boys Music Corp. v. Bolton,
  5 212 F.3d 477, 481 (9th Cir. 2000). She cannot.4
  6 A.         Lack of Substantial Similarity May Be Decided on a Motion to Dismiss
  7            A court may compare the works at issue in a copyright-infringement claim
  8 and dismiss the claim as a matter of law if they are not substantially similar. As this
  9 Court explained, “[t]here is ample authority for holding that when the copyrighted
 10 work and the alleged infringement are both before the court, capable of examination
 11 and comparison, non-infringement can be determined on a motion to dismiss.”
 12 Gadh v. Spiegel, 2014 WL 1778950, at *3 n.2 (C.D. Cal. Apr. 2, 2014) (Walter, J.)
 13 (quoting Christianson v. West Pub. Co., 149 F.2d 202, 203 (9th Cir. 1945)).
 14 Indeed, for nearly 75 years, “courts have followed this rather obvious principle and
 15 dismissed copyright claims that fail from the face of the complaint (and in light of
 16 all matters properly considered on a motion to dismiss).” Gadh, 2014 WL 1778950,
 17 at *3 n.2 (citing Zella v. E.W. Scripps Co., 529 F. Supp. 2d 1124, 1130 (C.D. Cal.
 18 2007)). See also Heusey v. Emmerich, 2015 WL 12765115, at *3 (C.D. Cal. Apr. 9,
 19 2015) (granting motion to dismiss copyright claim for lack of substantial similarity),
 20 aff’d, 692 Fed. Appx. 928 (9th Cir. 2017); Wild v. NBC Universal, 788 F. Supp. 2d
 21 1083, 1097 (C.D. Cal. 2011) (same), aff’d, 513 Fed. Appx. 640 (9th Cir. 2013).
 22            In considering a motion to dismiss, courts may also “consider matters subject
 23 to judicial notice pursuant to Federal Rule of Evidence 201.” Zella, 529 F. Supp. 2d
 24 at 1128. In particular, courts may consider facts “not subject to reasonable dispute,”
 25
 26            4
            Plaintiffs in copyright actions must also establish that the defendants had
 27 access to the allegedly infringing work. Three Boys Music Corp., 212 F.3d at 481.
 28 Though Defendants dispute that any of them ever had access to Emanuel, solely for
    purposes of this motion, Defendants do not challenge access.
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  1 Marcus v. ABC Signature Studios, 279 F. Supp. 3d 1056, 1062-1063 (C.D. Cal.
  2 2017), and “generic elements of creative works,” Zella, 529 F. Supp. 2d at 1129.
  3 See also Heusey, 2015 WL 12765115, at *4 (judicial notice of “historical events,
  4 theories commonly-held by historians, and the political atmosphere of the
  5 Elizabethan era”); Fillmore v. Blumhouse, 2017 WL 4708018, at *3 (C.D. Cal.
  6 July 7, 2017) (judicial notice that “[b]ringing the dead back to life” is common in
  7 horror, fantasy, and sci-fi, and that “[d]ream sequences are a common narrative
  8 device in works of fiction”).
  9 B.         Courts Must Filter Out Unprotectable Expression
 10            To assess substantial similarity on a motion to dismiss, the Ninth Circuit uses
 11 the “extrinsic test,” which focuses on objective “articulable similarities” between
 12 the works. Zella, 529 F. Supp. 2d at 1133. In comparing the works, “a court must
 13 filter out and disregard the non-protectible elements.” Cavalier v. Random House,
 14 Inc., 297 F.3d 815, 822 (9th Cir. 2002). Indeed, courts “may place no reliance upon
 15 any similarity in expression resulting from unprotectable elements.” Apple v.
 16 Microsoft, 35 F.3d 1435, 1446 (9th Cir. 1994) (emphasis in original). This is
 17 because “similarities derived from the use of common ideas cannot be protected;
 18 otherwise, the first to come up with an idea will corner the market.” Id. at 1443.
 19            Accordingly, courts filter out so-called scenes a faire, or elements that flow
 20 naturally from a basic premise. Cavalier, 297 F.3d at 823. For example, in Benay
 21 v. Warner Bros., 607 F.3d 620 (9th Cir. 2010), the Ninth Circuit disregarded
 22 numerous similarities that flowed from the works’ shared “basic plot premise” of
 23 “an American war veteran [who] travels to Japan in the 1870s to train the Imperial
 24 Army in modern Western warfare.” Id. at 625. See also Shame on You Prods. v.
 25 Banks, 120 F. Supp. 3d 1123, 1151 (C.D. Cal. 2015), aff’d, 690 F. App’x 519 (9th
 26 Cir. 2017) (dismissing copyright claim after disregarding similarities flowing from
 27 the works’ shared premise, such as “[g]etting drunk, spending a ‘one-nighter’ with
 28 someone you just met, waking up disoriented the next morning at the individual’s

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  1 house or apartment, and putting on the clothes worn the night before”); Funky Films
  2 v. Time Warner Entm’t, 462 F.3d 1072, 1077-1081 (9th Cir. 2006) (finding that the
  3 plaintiff’s extensive alleged similarities relied “heavily on scenes a faire – not
  4 concrete renderings specific to [plaintiff’s work] – and are, at best, coincidental”).
  5            Courts also routinely filter out generic or common elements before analyzing
  6 for substantial similarity. See, e.g., Fillmore, 2017 WL 4708018, at *3 (finding that
  7 “[d]ream sequences” and “[b]ringing the dead back to life” are unprotectable);
  8 Shame on You Prods., 120 F. Supp. 3d at 1159 (“outdoor chase on wheels” was too
  9 generic of a concept to be protectable).
 10 C.         The Works’ Protected Expression Is Not Substantially Similar
 11            Once unprotectable elements are filtered out, courts must then compare the
 12 objective, “specific expressive elements” of the works at issue, specifically the plot,
 13 themes, dialogue, mood, setting, pace, characters, and sequence of events in the two
 14 works.” Kouf v. Walt Disney Pictures, 16 F.3d 1042, 1045 (9th Cir. 1994).
 15            Importantly, courts repeatedly find that lists of “random similarities scattered
 16 throughout the works” are insufficient to satisfy the extrinsic test because they are
 17 “inherently subjective and unreliable.” See Litchfield, 736 F.2d at 1356. Indeed,
 18 courts have readily disposed of copyright claims even where the list of alleged
 19 similarities is extensive. See, e.g., Bernal v. Paradigm Talent & Lit. Agency, 788 F.
 20 Supp. 2d 1043, 1061, 1063 (C.D. Cal. 2010) (133-page chart with side-by-side
 21 comparisons of the works); Arica Inst. v. Palmer, 970 F.2d 1067, 1073 (2d Cir.
 22 1992) (70-page appendix of similarities). To assess similarity, the law requires a
 23 review of the actual works, not a plaintiff’s characterization of them. See Walker v.
 24 Time Life Films, 784 F.2d 44, 50 (2d Cir. 1986) (“[T]he works themselves, not
 25 descriptions or impressions of them, are the real test for claims of infringement.”).
 26            Plaintiff attempts to limit the Court’s analysis by alleging infringement in
 27 only the first three episodes of Servant, which she claims are a “self-contained
 28 unit,” and suggesting that the latter seven episodes merely add “new vignettes,

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  1 characters, or sub-plots.” FAC ¶¶ 2 n.1, 13. In fact, each of the ten episodes
  2 reveals crucial information about characters and events from the first three episodes,
  3 for example how Jericho died and why Leanne applied for a position with the
  4 Turners. The FAC’s own allegations also extend beyond the first three episodes.
  5 See RJN § 1. Regardless of whether the Court reviews three or ten episodes,
  6 however, there is no substantial similarity between Emanuel and Servant (or any
  7 part of Servant). Notably, in alleging infringement in only three episodes of
  8 Servant, Plaintiff herself concedes that most of the series is different from Emanuel.
  9            1.        Plot
 10                      a.       Most of the Alleged Plot Similarities Are Unprotectable.
 11            Most of the alleged similarities between the works’ plots are unprotectable
 12 concepts, scenes a faire, and generic elements in film and television.
 13            First, many alleged similarities flow from the works featuring a new mother,
 14 including having help with the baby, holding a baby, and considering her body. See
 15 FAC ¶ 78. Other alleged similarities flow from the unprotectable premise of hiring
 16 a babysitter or nanny. For example, people who can afford to hire help are often
 17 “privileged,” a mother first meeting a nanny or babysitter often asks “get to know
 18 you” questions, and a nanny or babysitter in a new home will look around. Id.
 19            Second, a grieving mother using a reborn doll to cope with losing a child is an
 20 unprotectable idea. See FAC ¶ 72 n.11 (conceding that a “mother so traumatized by
 21 her baby’s death that she cares for a doll she believes to be her real baby” is a “basic
 22 premise”). Despite Plaintiff’s emphatic denial, using a doll to cope with grief is a
 23 real therapy. Compare FAC ¶ 71 n.10 with RJN § 2. Numerous alleged similarities
 24 flow from this premise. For example, reborn dolls are designed to be lifelike, and
 25 thus it naturally flows that the dolls would be “physically realistic.” FAC ¶ 72. In
 26 works where a grieving mother treats a doll as her baby, it is unsurprising that
 27 others would stop pretending the doll was real when the mother was gone (id. ¶ 78),
 28 or that there would be no “harrowing bouts of crying” from the doll (id.).

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  1            Third, the concept of parents treating a doll as their child has been explored
  2 in many works. See RJN § 3.a. In the film The Boy, for example, a young woman
  3 becomes a nanny to a wealthy couple’s young son, which turns out to be a doll that
  4 the couple treats as their son (after their son’s apparent death years earlier). See id.
  5 And in the television series Psychoville, a character treats a doll as her child as her
  6 husband is forced to pretend it is real. Id. The concept is so often explored that it
  7 has an entry on the website “TV Tropes,” which catalogs tropes in entertainment.
  8 “Baby-Doll Baby,” https://tvtropes.org/pmwiki/pmwiki.php/Main/BabyDollBaby
  9 (“This trope is when a mother, in a delusion, thinks that a doll is her child.”).
 10            Fourth, beyond these scenes a faire, the FAC alleges numerous similarities
 11 that consist of ubiquitous elements from film and television. The FAC even
 12 contains side-by-side comparisons that only serve to highlight the FAC’s misplaced
 13 reliance on such unprotectable elements, like a woman holding a doll (FAC ¶ 7),
 14 walking down a staircase (id. ¶ 10), and underwater (id. ¶ 12), or, incredibly, a
 15 character “looking into the camera” (id. ¶ 80).
 16                      b.       The FAC Mischaracterizes Alleged Plot Similarities.
 17            Many of the remaining similarities in the FAC’s section on plot are
 18 mischaracterizations of one or both of the works at issue.
 19            As one example, Plaintiff alleges that the dolls in both works “come back to
 20 life”—using quotes around “come back to life” because the doll in Emanuel does
 21 not, in fact, come back to life. FAC ¶ 72. Instead, there is a “notable and extended
 22 scene” near the end of Emanuel in which Emanuel faints in the nursery and has a
 23 vision in which the room fills up with water. FAC ¶¶ 78-79; Dkt. 13 at 1:10:00. In
 24 this dream sequence, a real baby takes the place of the doll and swims to Emanuel’s
 25 deceased mother. Dkt. 13 at 1:12:42. The baby is shown for approximately 15
 26 seconds and despite Plaintiff’s allegations that “[t]he rebirth in each work is
 27 ambiguous” (FAC ¶ 78), the scene does not leave the audience confused—it is clear
 28 that the baby was “alive” only in Emanuel’s vision. Dkt. 13 at 1:12:42.

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  1            In Servant, on the other hand, the doll is replaced with a living baby in the
  2 first episode, and stays that way most of the season. See Ex. 1 at 34:08. There is no
  3 ambiguity in Servant regarding whether the baby is real or not. More importantly,
  4 unlike in Emanuel, the fact that a real baby takes the place of the doll in Servant is
  5 the defining plot device of the series, and the storylines and characters all flow from
  6 this foundational choice. Regardless, a doll coming to life is hardly a new concept,
  7 having been explored in countless works, including the classic Pinocchio.
  8            As another example, Plaintiff alleges that the “notable and extended” water-
  9 filled scene is similar to a scene in which “the nanny in Servant is shown
 10 underwater, but with a natural face.” FAC ¶ 78. In reality, the nanny takes a bath
 11 and dunks her head underwater for 7 seconds. Ex. 2 at 6:13. That is it.
 12            The FAC also alleges that Leanne in Servant, like Emanuel in Emanuel,
 13 “very quickly realizes the mother truly believes the doll to be real, and plays along
 14 with the delusion.” FAC ¶ 78. This is not true in Emanuel; there are a number of
 15 scenes in Linda’s house before Emanuel discovers the doll. E.g., Dkt. 13 at 9:22,
 16 14:45. Emanuel does not immediately play along with the decision; at first, she is
 17 bewildered and hesitant. Id. at 21:00. This alleged similarity also is untrue in
 18 Servant, in which Leanne treats the doll as real and never seems to be pretending.
 19            The FAC also alleges that in both works the “nanny’s mother has left a hole
 20 in her life that her relationship with the mother begins to fill—in a way that
 21 complements the hole in the mother’s life caused by the death of her baby.” FAC
 22 ¶ 78. Again, this is true for Emanuel, but untrue for Servant, in which Leanne never
 23 expresses longing for either of her parents, and Dorothy often treats Leanne as the
 24 help, not a daughter.
 25                      c.       The Works’ Plots Are Not Substantially Similar.
 26            Once unprotectable elements are removed, the works have different storylines
 27 and lack similarity in their “actual concrete” plot elements. Berkic v. Crichton, 761
 28 F.2d 1289, 1293 (9th Cir. 1985); Funky Films, 462 F.3d at 1077-1078.

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  1            Emanuel follows a normal teenager struggling to cope with the guilt of
  2 knowing that her mother died giving birth to her. The audience learns about
  3 Emanuel from the start; indeed, some of the first words in the film are Emanuel
  4 telling the audience that she killed her mother. Dkt. 13 at 1:00. Emanuel works at a
  5 medical supply store, lives with her father and stepmother, and begins to babysit for
  6 a new next-door neighbor Linda. When Emanuel first encounters Linda’s therapy
  7 doll, she is stunned and initially does not play along. Id. at 21:00. She ultimately
  8 treats the doll as a child in front of Linda, but generally not when Linda is gone.
  9 Emanuel even drops and pushes the doll across the floor with her foot at one point
 10 (id. at 32:50), in contrast to Leanne, who never treats the doll any differently than
 11 she would a baby. When Linda brings home a date (Arthur) and Arthur refuses to
 12 pretend the doll is a child, Linda’s delusion is shattered, and Emanuel suffers her
 13 own breakdown. Id. at 1:08:05. The film ends with Emanuel breaking Linda out of
 14 a mental institution and taking her to bury the doll next to Emanuel’s mother’s
 15 grave, each experiencing her own catharsis. Id. at 1:21:00.
 16            Servant tells an entirely different story. In Servant, an old-money couple
 17 hires a full-time, live-in nanny (Leanne) for their baby son, which is a therapy doll
 18 given to the mother (Dorothy) to cope with her son’s death. From the beginning of
 19 the series, Leanne is portrayed as possibly other-worldly. The audience is shown
 20 upfront that she is a seemingly paranormal, self-flagellating, deeply religious
 21 teenager, and the rest of the season is spent puzzling over who she is. Leanne
 22 always treats the doll as a real baby, holding it, singing to it, or taking it on walks,
 23 regardless of whether anyone is around. E.g., Ex. 1 at 13:11, 17:17, 29:01. She
 24 also has no reaction when the doll becomes a baby: she treats the doll and the baby
 25 exactly the same without expressing any surprise when the doll becomes a baby,
 26 leaving the audience to wonder whether she brought the doll to life and leaving
 27 other characters wondering what, if anything, should be done about it. Lastly,
 28

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  1 Leanne seems to use paranormal powers to inflict harm on the couple whenever she
  2 is angry with them, especially Sean, who loses his senses of taste, smell, and touch.
  3            There are numerous other differences between the plots of the works.
  4 Emanuel is portrayed from Emanuel’s perspective—indeed, the film starts with her
  5 voiceover. In Servant, the perspective is the opposite, as the series explores who (or
  6 what) Leanne is and where she came from. Unlike in Emanuel, in which the doll is
  7 an unexpected “twist,” in Servant the existence of the doll is not hidden and is fully
  8 explained in the trailer. See RJN § 1. In addition, in Servant the doll is replaced by
  9 a real baby at the end of the first episode, whereas in Emanuel it remains a doll
 10 throughout. Also unlike Emanuel, in Servant there is no moment where the mother
 11 is “found out.” While Emanuel attempts to prevent others from discovering the
 12 doll, Leanne seems to have no awareness of anything amiss, and takes it out in
 13 public. E.g., Ex. 1 at 17:17. And unlike the cathartic end of Emanuel, Servant’s
 14 first season ends with uncertainty and suspense. See Ex. 10. Unlike in Emanuel,
 15 there is no catharsis and certainly no peace at any point in Servant.
 16            2.        Sequence of Events
 17            Plaintiff alleges that Emanuel and Servant “each unfolds in a roughly linear
 18 chronology,” FAC ¶ 79, which is not something that is protectable. Even if that
 19 were protectable, only Emanuel unfolds in a linear chronology. Servant, by
 20 contrast, jumps back and forth through time throughout the entire season, showing
 21 various incidents from the past to explain events in the present.
 22            The other alleged similarities in sequence of events consist of several discrete
 23 scenes that are unrelated to the overall sequence of events of the works. Moreover,
 24 those alleged similarities are unprotectable and also portrayed differently in the
 25 works. For example, Plaintiff alleges that “both works include an awkward job
 26 interview scene” (id.), but a parent asking a new caregiver questions flows from the
 27 unprotectable concept of hiring a babysitter or nanny. Regardless, in Servant,
 28 Leanne arrives at the Turners’ home in the first scene of the first episode with her

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  1 suitcase in hand. Ex. 1 at 1:34. She is not coming to an interview; she has already
  2 been hired. In Emanuel, Linda also does not “interview” Emanuel, but instead asks
  3 her a few questions before leaving her with the “baby.” Dkt. 13 at 9:40.
  4            Similarly, Plaintiff alleges that at some point following the “interviews,” the
  5 “nanny” and mother are “shown alternatively in solitary moments—but with a
  6 strong sense that they are connected during those moments.” FAC ¶ 79. But
  7 characters experiencing “solitary moments” is not a protectable sequence of events.
  8 Regardless, the scene in Servant that Plaintiff references is one in which Leanne and
  9 Dorothy are shown in their respective bathtubs (id.)—Dorothy in her spacious
 10 bathroom in a large bathtub with jets and Leanne in her smaller tub with plain tile
 11 and water-damaged ceiling (Ex. 1 at 10:38)—whereas in Emanuel, Emanuel is
 12 watching Linda and her “baby” from across the street (to demonstrate Emanuel’s
 13 growing fascination with Linda). Dkt. 13 at 12:01.
 14            Plaintiff also alleges that the works have a similar sequence of events because
 15 there is a scene in both in which the mother applies makeup, and then the “nanny”
 16 does the same after the mother leaves (FAC ¶ 79), but this concept has been
 17 explored in countless other works. Likewise, Plaintiff alleges that in both works the
 18 “nanny faints under stress” and “regains consciousness to the sight of concerned
 19 faces” (id.), which is another frequently portrayed concept.
 20            3.        Theme
 21            “A work’s theme is its overarching message,” and “there is no protection for
 22 stock themes or themes that flow necessarily from a basic premise.” Silas v. Home
 23 Box Office, 201 F. Supp. 3d 1158, 1180 (C.D. Cal. 2016), aff’d, 713 Fed. Appx. 626
 24 (9th Cir. 2018). Plaintiff alleges that both Emanuel and Servant include themes like
 25 “[d]enial and self-delusion as a means of avoiding the unspeakable grief of losing a
 26 baby” and “[t]he dangers of shared delusion,” including “[t]he safety, sanctity and
 27 comfort of home—and the obverse dangers of the outside world.” FAC ¶ 66. But
 28 these themes are extremely broad and encompass innumerable works, and they also

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  1 flow naturally from the unprotectable premise of a mother treating a therapy doll as
  2 if it were her baby and thus must be filtered out before comparing themes.
  3            Beyond grief and delusion, the primary themes in Emanuel and Servant are
  4 drastically different. As Plaintiff alleges, Emanuel is an “emotional story about
  5 motherhood and daughterhood,” culminating in its main characters finding peace
  6 with their grief. FAC ¶ 14. It explores the pain of a teenager who never knew her
  7 mother and guilt for her mother’s death, and a mother who feels grief and guilt for
  8 the loss of her only child. The film also examines what it means to be a family,
  9 including exploring stepfamily bonds. Ultimately, Emanuel is hopeful and positive,
 10 exploring themes such as forgiveness, healing, acceptance, and redemption.
 11            Servant’s primary theme is very different, and much darker (literally and
 12 metaphorically). In Servant, little is known of Leanne’s past and she does not
 13 express any longing for her parents. The series walks the line between thriller and
 14 horror, with Leanne’s seeming powers front and center, as she appears to bring a
 15 doll to life and to punish Sean and Dorothy when she finds them undeserving of her
 16 assistance. E.g., Ex. 5 at 14:00, 21:25. Servant also explores themes such as wealth
 17 juxtaposed with the treatment of those without such privilege. Lastly, no character
 18 in Servant finds redemption or acceptance like in Emanuel.
 19            Notably, Plaintiff alleges that Emanuel explores themes such as the
 20 complexity of the mother/daughter bond and maternal longing, and contends that it
 21 is the first film to “explore maternal longing by examining its delusional
 22 misplacement, while also studying a young woman’s misplaced longings for a
 23 mother.” FAC ¶ 67. But Plaintiff concedes that Servant does not explore these and
 24 similar themes by claiming that Servant is an “utter bastardization” of Emanuel that
 25 completely “miss[es] the female perspective.” FAC ¶¶ 16-17.
 26            4.        Characters
 27            “In determining whether characters are similar, a court looks at the totality of
 28 the characters’ attributes and traits as well as the extent to which the defendants’

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  1 characters capture the total concept and feel of the figures in the plaintiff’s work.”
  2 Shame on You Prods., 120 F. Supp. 3d at 1165 (internal brackets omitted). Even
  3 some shared traits between characters are not enough to prove substantial similarity
  4 when the characters “have noticeable differences.” Silas, 201 F. Supp. 3d at 1177.
  5                      a.       Emanuel and Leanne
  6            The FAC repeatedly compares the nanny in Servant to the “nanny” in
  7 Emanuel. But Emanuel is not a nanny—she lives with her family, has a day job,
  8 and simply babysits for her neighbor. In fact, Emanuel’s stepmother expressly tells
  9 Emanuel that Linda was “looking for a babysitter” (Dkt. 13 at 7:55) (emphasis
 10 added), and Plaintiff’s own website describes Emanuel as offering “to babysit.”5
 11            Emanuel is a quintessential teenager who is struggling to cope with the loss
 12 of her mother who died in childbirth and to coexist with her stepmother (while also
 13 trying to push her buttons). Her brash, acerbic wit is on display any time she is in a
 14 crowd, including, for example, when she lies to train passengers to get them to give
 15 up their seats, or riles up her stepmother during a family dinner. Dkt. 13 at 3:37,
 16 8:37. In contrast, Leanne in Servant is a live-in nanny to Dorothy and Sean,
 17 routinely demeaned by them both. They refer to her as “staff” (Ex. 1 at 5:08, Ex. 2
 18 at 23:25), convince her to spend her meager earnings on shoes that Dorothy
 19 immediately asks to borrow (Ex. 3 at 15:04), and even send her out in a
 20 thunderstorm on a fool’s errand so they can be intimate (Ex. 5 at 12:18).
 21            Emanuel and Leanne are almost nothing alike. Unlike Emanuel, Leanne is
 22 quiet and deferential—the “servant.” Unlike Emanuel, Leanne appears to have
 23 paranormal powers she uses to punish or reward the Turners depending on their
 24 behavior toward her, including the apparent power to create life. Leanne is deeply
 25 involved in her religion and whips herself. E.g., Ex. 1 at 11:36, Ex. 5 at 30:01. In
 26
 27
               5
 28           See https://www.francescagregorini.com/features/the-truth-about-emanuel/
      (describing Emanuel’s plot: “Emanuel offers to babysit [Linda’s] newborn”).
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  1 contrast to Emanuel and Linda’s tender relationship in Emanuel, Leanne has a
  2 complicated relationship with Dorothy in Servant, at times seeming obsessed with
  3 her (and wanting to be her) and other times torturing her, such as repeatedly setting
  4 off her car alarm once Leanne found out that Jericho died in the car. Ex. 9 at 22:25.
  5 Emanuel understands that Linda is suffering from a delusion and pretends for her
  6 sake that her doll is real, while attempting to prevent anyone else from discovering
  7 the doll. Leanne, on the other hand, treats the doll as real and does not make any
  8 attempt to prevent others from seeing the doll. E.g., Ex. 1 at 17:17. Also, in
  9 Servant, Leanne targeted the Turners based on her childhood meeting of and
 10 interest in Dorothy. Ex. 4 at 30:42. Notably, Plaintiff deleted her allegation from
 11 the initial complaint that Emanuel became Linda’s babysitter out of “happenstance”
 12 (Compl. ¶ 74), and now falsely contends Emanuel’s offer to babysit was “extremely
 13 deliberate” and was evidence that she “targeted” Linda (FAC ¶ 78). Plaintiff got it
 14 right the first time; Emanuel did not “target” Linda, she happened to live next door.
 15            Beyond a few generic and unprotectable traits shared by Emanuel and
 16 Leanne, they could hardly be more different. Emanuel is the epitome of a teenager,
 17 grappling with the loss of her mother. Leanne is a paranormal cult member who
 18 can seemingly cause physical harm to those who cross her (and seemingly can
 19 resurrect the dead). The contention that Emanuel and Leanne are “extraordinarily
 20 similar” (FAC ¶ 70) is belied by even the most cursory review of the works at issue.
 21                      b.       Linda and Dorothy
 22            Nor are Linda and Dorothy similar. As explained above, the concept of a
 23 mother using a reborn doll as a therapeutic tool to cope with the grief of losing a
 24 child is not protectable. The similarities between the characters flow naturally from
 25 that premise, including their bouts of delusion. Their confidence is a byproduct of
 26 fighting to keep that delusion alive, as is their turn as “affectionate and doting
 27 mothers.” FAC ¶ 71. And that women wealthy enough to hire help for dolls would
 28 be “in their mid-thirties,” “sophisticated,” “privileged,” and “wearing stylish

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  1 clothing” is no surprise, and those similarities are too ubiquitous to merit protection.
  2 Id. See also Shame on You Prods., 120 F. Supp. 3d at 1165.
  3            Plaintiff mischaracterizes various “similarities” between Linda and Dorothy.
  4 She describes both as holding a “displaced maternal longing” that each “channel[s]
  5 not only into a reborn doll, but also into the nanny,” and alleges “there is an
  6 unspoken, perhaps unconscious or repressed, sexual longing, that is subtly directed
  7 toward the nanny.” FAC ¶ 71. This may be true of Linda in Emanuel, but not of
  8 Dorothy in Servant. Dorothy does not channel “displaced maternal longing” into
  9 Leanne (id.) or explore a “mother/daughter bond” with her (FAC ¶ 78). For
 10 example, she takes Leanne shopping and convinces her to buy new shoes, and then
 11 manipulates Leanne into lending them to her. Ex. 3 at 15:04. And the one moment
 12 between Dorothy and Leanne that the FAC describes as being erotic (FAC ¶ 78) is
 13 not: Leanne helps Dorothy to relieve her painful mastitis. Ex. 1 at 29:30.
 14            Linda is a grieving mother who ran away from her husband to start a new life
 15 where no one knows of her loss. She is not an “effervescent, ‘type A’ personality”
 16 (FAC ¶ 71), but instead is laid-back, calm, and warm. She does not seem to have a
 17 job, instead tending to her garden and home, and spending time with Emanuel.
 18 Servant, on the other hand, is set in motion due to Dorothy’s desire to return to her
 19 job as an on-air reporter. She hires Leanne to watch her “child” while she works,
 20 and the news segments she creates provide key plot and mood moments in the
 21 show. Dorothy does all this with the (at times begrudging) support of her husband
 22 and brother. Overall, beyond the shared unprotectable concepts in both works,
 23 there are many “noticeable differences” between Linda and Dorothy, who are not
 24 substantially similar. See Silas, 201 F. Supp. 3d at 1177.
 25                      c.       Thomas and Sean
 26            Plaintiff alleges that the father in Emanuel, Thomas, is similar to the father in
 27 Servant, Sean, because both explain how their child died and how their wife came
 28 to use a doll. FAC ¶ 73. That is no surprise: who better to understand the situation,

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  1 or to convey that, than the other parent. More importantly, this is the extent of the
  2 similarities between the characters. In fact, there is nothing more to Thomas at
  3 all—he appears in a single scene in Emanuel near the end of the film and we learn
  4 almost nothing about him. Sean, on the other hand, is a vital, fully developed
  5 character in every episode of Servant, and his interactions with Leanne are central
  6 the story. Compare Dkt. 13 at 1:18:30 with Exs. 1-10. See Shame on You Prods.,
  7 120 F. Supp. 3d at 1164 (only “distinctive characters are protectable”).
  8                      d.       Arthur and Julian
  9            Plaintiff overstates Arthur (in Emanuel) and Julian (in Servant) as
 10 “antagonists” (FAC ¶ 76) and just like with Thomas and Sean, compares a
 11 secondary character in Emanuel with a central character in Servant.
 12            Arthur is a nerdy, shy, “professorial” (FAC ¶ 76) man who works with
 13 Emanuel. Arthur takes Linda on a date (to Emanuel’s displeasure) and comes back
 14 to Linda’s home to meet the baby (something Emanuel repeatedly attempts to
 15 prevent). When Arthur discovers the child is actually a doll, he refuses to play
 16 along, sending Linda into a spiral as she finally confronts her loss. As Arthur was
 17 told Emanuel was babysitting, he initially blames Emanuel for the mishap and
 18 begins to frantically search for the “missing” child. Dkt. 13 at 1:08:50.
 19            In Servant, Julian is a devoted brother to Dorothy, and knows from the start
 20 about how Jericho died (in fact, he discovers Jericho’s body in the midst of
 21 Dorothy’s delusion). Ex. 1 at 16:22, Ex. 8 at 22:57. Crass and constantly drinking,
 22 he mistrusts Leanne and spends significant resources looking into her background,
 23 even flying to her hometown with a private investigator. Ex. 3 at 8:31. As with the
 24 other main characters, Arthur and Julian’s many “noticeable differences” cut
 25 against a finding of substantial similarity. Silas, 201 F. Supp. 3d at 1177.
 26                      e.       Claude and Tobe
 27            Plaintiff contends that Claude and Tobe are Emanuel and Leanne’s “love
 28 interests” (FAC ¶ 75), but this grossly oversimplifies these characters.

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  1            Claude is Emanuel’s boyfriend. In Emanuel, he meets Emanuel on a train
  2 and they see who can come up with a more outlandish story to get a stranger to give
  3 up their seat. E.g., Dkt. 13 at 8:37, 26:06. Claude is happy to date Emanuel, but
  4 like any couple they go through their ups (talking and kissing by the lake) and
  5 downs (fighting over Emanuel’s relationship with Linda). The couple’s evolving
  6 relationship is one of the central storylines of Emanuel.
  7            Tobe is Sean’s assistant chef and highlights one of the themes of Servant: the
  8 treatment of the less privileged by those with more. At one point, Tobe cooks
  9 dinner with Leanne (because he is stuck at the house, having accepted $100 from
 10 Sean to stay there). Ex. 3 at 18:51. Later in the season, Tobe and Leanne go
 11 bowling, and when she tries to kiss him afterward, he rejects her advance. Ex. 8 at
 12 16:00. That is the extent of their “romantic” interlude. FAC ¶ 75. Moreover, even
 13 if Plaintiff’s description of both characters as “timid, shy, sexually immature, and
 14 diminutive” were accurate (it is not), those are unprotectable generic traits. Id.
 15                      f.       The Dolls
 16            The FAC alleges that the dolls in Emanuel and Servant are “physically
 17 realistic” and “ultra-lifelike,” FAC ¶ 72, but this is an unprotectable concept. In
 18 fact, the entry on the TV Tropes website about the “trope” in which “a mother, in a
 19 delusion, thinks that a doll is her child” specifically refers to “the famous Reborn
 20 line” of dolls. See https://tvtropes.org/pmwiki/pmwiki.php/Main/BabyDollBaby.
 21 The dolls also are not “almost identical” as Plaintiff contends: one is a boy and one
 22 is a girl, with features and clothing that would be expected of a realistic doll.
 23                      g.       Other Characters
 24            Plaintiff fails to mention other characters in both Emanuel and Servant. This
 25 includes Emanuel’s father, who Emanuel lives with and is close with. It is through
 26 him that we learn about Emanuel’s mother and explore Emanuel’s themes of losing
 27 a spouse and raising a child as a single parent. Nor does Plaintiff mention
 28 Emanuel’s stepmother (or the theme in Emanuel of adjusting to new family

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  1 relationships). Plaintiff also does not mention Roscoe, the private investigator who
  2 is looking into Leanne’s past (and who was possibly kidnapped or killed for that).
  3 Nor does she mention the other characters that are introduced later in the season,
  4 including Leanne’s Aunt May and Uncle George, Dorothy’s therapist Natalie,
  5 Dorothy and Julian’s father Todd, and Wanda (who Julian hired to spy on Leanne).
  6            5.        Setting
  7            Most of the alleged similarities in setting flow from the premise of a new
  8 mother, hiring a babysitter or nanny, or using a therapy doll to cope with the loss of
  9 a child, none of which are protectable. See, e.g., Benay, 607 F.3d at 627-628
 10 (finding that given the works’ shared unprotectable premise, it was “not surprising”
 11 that the works shared settings like “a scene of the protagonist sailing into Japan,
 12 scenes in the Imperial Palace, scenes on the Imperial Army’s training grounds, and
 13 battle scenes in various places in Japan”). Here, it makes sense that someone
 14 wealthy enough to hire help would live in an upscale house. FAC ¶ 68. And when
 15 a nanny lives in the same house with her employers, as in Servant, it naturally
 16 follows that she would see various goings on in the home. Id.
 17            Beyond the scenes a faire, Plaintiff points to generic elements as evidence of
 18 copying, from having a staircase “overlooking the first floor” to a nursery with
 19 “old-fashioned cribs,” rocking horses, and even “striped wallpaper,” to having
 20 “family dinners.” FAC ¶ 68. These elements are not protectable, and even if they
 21 were, they have been used in countless works before Emanuel.
 22            Plaintiff also mischaracterizes purported similarities between settings. In
 23 particular, she highlights that each work features a trip to Leanne’s or Emanuel’s
 24 mother’s grave (FAC ¶ 68), but these scenes are incredibly different. In Emanuel,
 25 Emanuel takes Linda to visit Emanuel’s mother’s grave, which Emanuel had never
 26 visited, and digs a hole to bury Linda’s doll. Dkt. 13 at 1:26:21. The trip to the
 27 grave is film’s climax, as Emanuel and Linda seemingly come to terms with their
 28 losses. In Servant, Julian and a private investigator travel to the Midwest to track

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  1 down information about Leanne. Julian uncovers remnants of Leanne’s family
  2 home (which burned down), and then discovers Leanne’s parents’ graves, and also
  3 Leanne’s grave. Ex. 3 at 26:12. Thus, while there is a grave visit in each work,
  4 they are expressed quite differently and have an extremely different significance to
  5 each work. Moreover, scenes taking place at a grave are hardly unique.
  6            The works’ other settings are also very different. In Emanuel, the story takes
  7 place in numerous locations, including Emanuel’s home, her work, Linda’s home,
  8 the train, a market, a lake, and a mental institution. In Servant, almost all of the
  9 action takes place in and around the house. When other settings are shown, they are
 10 generally seen through a screen at the Turners’ residence.
 11            6.        Mood
 12            Plaintiff alleges that both Emanuel and Servant are psychological thrillers
 13 and, accordingly, are “tense throughout,” invoking “heightened feelings of
 14 suspense, excitement, surprise, anticipation, and anxiety.” FAC ¶ 80. But these
 15 moods are ubiquitous. See Fillmore, 2017 WL 4708018, at *8 (“[G]eneral suspense
 16 is not protectable expression and cannot establish the extrinsic similarity necessary
 17 to support a copyright infringement claim”). Plaintiff acknowledges that in creating
 18 tension, she “uses the cinematic vernacular of classic suspense.” FAC ¶ 10.
 19            Plaintiff also alleges that both works employ “magical realism,” which
 20 Plaintiff contends “leaves the audience with a measure of uncertainty about what’s
 21 real.” Id. ¶ 4. See also id. ¶ 65. This is untrue. In Emanuel, Emanuel has visions
 22 of water rushing into wherever she is, be it on a train or in a bedroom, but the
 23 audience knows that the visions are not actually happening—e.g., the train and the
 24 bedroom did not actually fill with water. E.g., Dkt. 13 at 24:39. These scenes
 25 certainly do not keep “the audience wondering.” FAC ¶ 65. In contrast, in Servant,
 26 Leanne’s potentially supernatural powers are presented as real. Sean really loses
 27 his sense of taste and smell and really pulls out a splinter from his throat. Ex. 2 at
 28 28:11. A doll is presented as turning into a real baby, and then back again. Ex. 1 at

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  1 34:10, Ex. 8 at 9:15. Somehow, after Leanne notices them, a dead cricket and a
  2 dead dog are each brought back to life. Ex. 5 at 30:59, Ex. 7 at 28:02. These are
  3 not fantastical visions; they are actual events in Servant.
  4            Beyond generic elements, Emanuel and Servant have drastically different
  5 moods. Emanuel largely focuses on each of its main characters’ grief and their
  6 attempts to cope with that grief. It is, at its core, a story of healing. In contrast,
  7 Servant is creepy, and of course suspenseful. Plaintiff contends that the works’
  8 reliance on food contributes to a similar mood, FAC ¶ 80, but this an exaggeration.
  9 In Emanuel, there are several family dinners, whereas in Servant, food plays a
 10 pervasive role throughout the series. Specifically, beyond Sean’s profession as a
 11 chef and the significance of his lost taste and smell, the preparation and
 12 consumption of exotic foods highlight the Turners’ wealth and privilege,
 13 particularly as compared to what Leanne eats (tomato soup, every day). Lastly,
 14 there is no mood of healing or positivity in Servant, as there is in Emanuel.
 15            7.        Pace
 16            Plaintiff contends that “[b]oth works proceed at a rapid pace.” FAC ¶ 80.
 17 But having a rapid pace is hardly protectable. See id. ¶ 10 (acknowledging that the
 18 pace she used was part of the “cinematic vernacular of classic suspense”).
 19 Moreover, this is not an accurate characterization of either work. In Emanuel, there
 20 are numerous periods of calm, such as during family dinners, gardening, Emanuel
 21 and Claude’s night sitting by a lake, and Emanuel and Linda’s scene in which they
 22 come to terms with their losses and gaze at the stars. In Servant, the pace quickens
 23 toward the ultimate, chaotic end of the first season, in which Leanne seemingly
 24 leaves, the baby appears to be a doll again, and Dorothy possibly realizes that the
 25 doll is not her baby. Ex. 10. In an attempt to bolster the pace allegations in the
 26 FAC, Plaintiff alleges that both works employ “long pauses in the characters’
 27 dialogue” (FAC ¶ 80), but this undermines Plaintiff’s allegation about the works
 28 proceeding at a “rapid pace” and, regardless, is hardly unique or protectable.

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  1            8.        Dialogue
  2            “[F]or a plaintiff to demonstrate substantial similarity of dialogue, it must
  3 show ‘extended similarity of dialogue.’” Silas, 201 F. Supp. 3d at 1181 (quoting
  4 Olson v. Nat’l Broad. Co., 855 F.2d 1446, 1450 (9th Cir. 1988)). See Gallagher v.
  5 Lions Gate Entm’t, 2015 WL 12481504, at *10 (C.D. Cal. Sept. 11, 2015) (three
  6 instances of similar dialogue could not demonstrate “extended similarity”).
  7            Here, Plaintiff’s dialogue allegations are largely duplicative of her plot
  8 allegations. For example, she alleges that in both works, “the mother gives baby-
  9 care direction in extremely realistic terms” and “the father explains that the cause of
 10 the baby’s death is unknown” (FAC ¶ 81), but does not allege any specific dialogue
 11 shared between the works. Alleging that thematically similar conversations take
 12 place in both works is not enough to find the “extended similarity of dialogue”
 13 necessary for substantial similarity. E.g., Silas, 201 F. Supp. 3d at 1181 (even an
 14 instance of overlapping dialogue insufficient to show substantial similarity).
 15             PLAINTIFFS’ NEW CLAIMS OVER THE SERVANT SCRIPTS FAIL
 16            The FAC adds two direct-infringement claims targeted at “early” and “later”
 17 Servant scripts (the “Scripts”), alleging “on information and belief” that each script
 18 is “very similar to Servant,” and that certain of the alleged similarities between
 19 Emanuel and Servant are equally applicable to the Scripts. See FAC ¶¶ 95, 95 n.15,
 20 101, 101 n.16. Each claim fails on its face.
 21            First, the alleged similarities between Emanuel and the Scripts are a subset of
 22 the alleged similarities between Emanuel and Servant. FAC ¶¶ 95, 101. Because
 23 Plaintiff’s more expansive allegations are insufficient to prove substantial
 24 similarity, her allegations that the Scripts infringe also must fail.
 25            Second, Plaintiff alleges in a conclusory fashion that each “script hews even
 26 closer to Emanuel than Servant does” (FAC ¶¶ 95, 101), but fails to allege any
 27 similarities between the Scripts and Emanuel that are not alleged as between
 28 Servant and Emanuel. “Without such facts neither [the defendant] nor the court has

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  1 notice of what it is that [plaintiff] alleges was copied.” McCormick v. Sony
  2 Pictures, 2008 WL 11338582, at *5 (C.D. Cal. Feb. 4, 2008) (dismissing copyright-
  3 infringement claim where plaintiff “plead[ed] no facts regarding the similarities
  4 between [the works]”). Accordingly, the unsupported allegation that each Script
  5 “hews closer” to Emanuel than the episodes of Servant must be disregarded.
  6            Third, unsupported allegations “on information and belief” do not state a
  7 valid claim as a matter of law. See Tarantino v. Gawker Media, 2014 WL 2434647,
  8 at *4 (C.D. Cal. Apr. 22, 2014) (Walter, J.) (dismissing claim where plaintiff
  9 “merely speculate[d]” that direct copyright infringement “must have taken place”).
 10                       PLAINTIFF’S SECONDARY LIABILITY CLAIM FAILS
 11            Because the direct-infringement claims fail, Plaintiff’s fourth cause of action
 12 for contributory and vicarious infringement also fails. See Fox Broad. Co. v. Dish
 13 Network, 747 F.3d 1060, 1068 (9th Cir. 2014) (“Secondary liability for copyright
 14 infringement does not exist in the absence of direct infringement by a third party.”).
 15                                           CONCLUSION
 16            Emanuel and Servant are not substantially similar. Once unprotectable
 17 elements are disregarded, the works’ plot, sequence of events, themes, characters,
 18 setting, mood, pace, and dialogue are different, and Plaintiff’s cherry-picking of
 19 unprotectable elements or generic details does not enable her to survive dismissal.
 20 Plaintiff’s claims should be dismissed with prejudice. See Silas, 201 F. Supp. 3d at
 21 1184 (dismissing complaint with prejudice where the works were “not extrinsically
 22 similar and no amendment could possibly cure that defect in Plaintiffs’ case”).
 23
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